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U.S. Department of Justice

United States Attorney
District of New Jersey

 

 

970 Broad Street, Suite 700 (973) 645-2700
Newark, New Jersey 07102

February 17, 2021

Michael Gilberti, Esq.

Jardim, Meisner and Susser, P.C.
30B Vreeland Road, Suite 100
Florham Park, NJ 07932

Re: Plea Agreement with GREEN

Dear Mr. Gilberti:

This letter sets forth the plea agreement between your client, WILLIAM
GREEN (“GREEN”) and the United States Attorney for the District of New
Jersey (“this Office”). The government’s offer to enter into this plea agreement
will expire on February 19, 2021 if it is not accepted in writing on or before
that date.

Charge

Conditioned on the understandings specified below, this Office will
accept a guilty plea from GREEN to Count One of the Indictment, which
charges GREEN with operating an unlicensed money transmitting business,
contrary to 18 U.S.C. § 1960(a) and (b){1)(B). If GREEN enters a guilty plea and
is sentenced on this charge, and otherwise fully complies with all of the terms
of this agreement, this Office will not initiate any further criminal charges
against GREEN related to the operation of business(es) known as WG Holdings
LLC and/or Destination Bitcoin between in or around December 2017 and in
or around March 2019. However, in the event that a guilty plea in this matter
is not entered for any reason or the judgment of conviction entered as a result
of this guilty plea does not remain in full force and effect, GREEN agrees that
any dismissed charges and any other charges that are not time-barred by the
applicable statute of limitations on the date this agreement is signed by
GREEN may be commenced against him, notwithstanding the expiration of the
limitations period after GREEN signs the agreement.
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Sentencing

The violation of 18 U.S.C. § 1960 to which GREEN agrees to plead guilty
carries a statutory maximum prison sentence of 5 years and a statutory
maximum fine of $250,000. Fines imposed by the sentencing judge may be
subject to the payment of interest.

The sentence to be imposed upon GREEN is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act,
18 U.S.C, §§ 3551-3742, and the sentencing judge’s consideration of the
United States Sentencing Guidelines. The United States Sentencing Guidelines
are advisory, not mandatory. The sentencing judge may impose any reasonabie
sentence up to and including the statutory maximum term of imprisonment
and the maximum statutory fine. This Office cannot and does not make any
representation or promise as to what guideline range may be found by the
sentencing judge, or as to what sentence GREEN ultimately will receive.

Further, in addition to imposing any other penalty on GREEN, the
sentencing judge: (1) will order GREEN to pay an assessment of $100
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; (2) must order GREEN to pay restitution pursuant to 18 U.S.C.

§ 36634; (3) may order GREEN, pursuant to 18 U.S.C. § 3555, to give notice to
any victims of his offense; (4) must order forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(A) and 28 U.S.C. § 2461; and (5) pursuant to 18 U.S.C. § 3583, may
require GREEN to serve a term of supervised release of not more than 3 years,
which will begin at the expiration of any term of imprisonment imposed.
Should GREEN be placed on a term of supervised release and subsequently
violate any of the conditions of supervised release before the expiration of its
term, GREEN may be sentenced to not more than 2 years’ imprisonment in
addition to any prison term previously imposed, regardless of the statutory
maximum term of imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be sentenced to an
additional term of supervised release.

Restitution

In addition, GREEN agrees to make full restitution for all losses resulting
from the offense of conviction or from the scheme, conspiracy, or pattern of

criminal activity underlying that offense, in an amount to be determined by the
Court.
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Forfeiture

GREEN agrees that as part of his acceptance of responsibility and
pursuant to 18 U.S.C. § 982, GREEN will to forfeit to the United States, any
and all property involved in, or traceable to, the violation of 18 U.S.C. § 1960,
charged in the Indictment. GREEN further agrees to forfeit all of his right, title
and interest in the funds listed below (the “Specific Property”), which GREEN
admits has the requisite nexus to the unlicensed money transmitting offense
charged in the Indictment and therefore is forfeitable to the United States of
America pursuant to 18 U.S.C. § 982:

a. $51,144.00 in United States currency seized from GREEN’S residence on
or about March 1, 2019

(collectively, the “Specific Property’).

GREEN further consents to the administrative and/or civil judicial
forfeiture of the Specific Property pursuant to 18 U.S.C. § 981(a). GREEN
agrees that he will not file a claim or a petition for remission or mitigation in
any forfeiture proceeding involving the Specific Property and will not cause or
assist anyone else in doing so. To the extent GREEN has filed a claim or
petition in any administrative or civil judicial forfeiture proceeding involving the
Specific Property, such claims or petitions are hereby deemed withdrawn.
GREEN further agrees to take all necessary steps to pass clear title to the
Specific Property to the United States, including, but not limited to, the
surrender of such property to the United States Marshals Service and the
execution of all necessary documentation

GREEN waives the requirements of Rules 32.2 and 43(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of
the forfeiture in the judgment. Pursuant to Rule 32.2(b)(4) of the Federal Rules
of Criminal Procedure, the defendant consents to the entry of a Consent
Judgment of Forfeiture that will be final as to the defendant prior to the
defendant’s sentencing. GREEN understands that criminal forfeiture pursuant
to 18 U.S.C. § 982(a)(1) is part of the sentence that may be imposed in this
case and waives any failure by the court to advise him of this pursuant to Rule
11(b)(1)(J} of the Federal Rules of Criminal Procedure at the guilty plea
proceeding. It is further understood that any forfeiture of GREEN’s assets shall
not be treated as satisfaction of any fine, restitution, cost of imprisonment, or
any other penalty the Court may impose upon him in addition to forfeiture.
GREEN hereby waives any and all claims that this forfeiture constitutes an

excessive fine and agrees that this forfeiture does not violate the Eighth
Amendment.

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GREEN further agrees that within 10 days after he enters his plea of
guilty he will provide a complete and accurate Financial Disclosure Statement
on the form provided by this Office. If GREEN fails to provide a complete and
accurate Financial Disclosure Statement within 10 days after the date he
enters his plea of guilty, or if this Office determines that GREEN has
intentionally failed to disclose assets on his Financial Disclosure Statement,
GREEN agrees that that failure constitutes a material breach of this
agreement, and this Office reserves the right, regardless of any agreement or
stipulation that might otherwise apply, to oppose any downward adjustment
for acceptance of responsibility pursuant to U.S.S.G. § 3E1.1, and to seek leave
of the Court to withdraw from this agreement or seek other relief.

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be
imposed on GREEN by the sentencing judge, to correct any misstatements
relating to the sentencing proceedings, and to provide the sentencing judge and
the United States Probation Office all law and information relevant to
sentencing, favorable or otherwise. In addition, this Office may inform the
sentencing judge and the United States Probation Office of: (1) this agreement;
and (2) the full nature and extent of GREEN’s activities and relevant conduct
with respect to this case.

Stipulations

This Office and GREEN agree to stipulate at sentencing to the statements
set forth in the attached Schedule A, which hereby is made a part of this plea
agreement. This agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and may reject
any or all of the stipulations entered into by the parties. To the extent that the
parties do not stipulate to a particular fact or legal conclusion, each reserves
the right to argue the existence of and the effect of any such fact or conclusion
upon the sentence. Moreover, this agreement to stipulate on the part of this
Office is based on the information and evidence that this Office possesses as of
the date of this agreement. Thus, if this Office obtains or receives additional
evidence or information prior to sentencing that it determines to be credible
and to be materially in conflict with any stipulation in the attached Schedule A,
this Office shall not be bound by any such stipulation. A determination that
any stipulation is not binding shall not release either this Office or GREEN
from any other portion of this agreement, including any other stipulation. If the
sentencing court rejects a stipulation, both parties reserve the right to argue on
appeal or at post-sentencing proceedings that the sentencing court was within

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its discretion and authority to do so. These stipulations do not restrict this
Office’s right to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and GREEN waive certain rights to
file an appeal, collateral attack, writ, or motion after sentencing, including but
not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C.

§ 2255.

Immigration Consequences

GREEN understands that, if he is not a citizen of the United States, his
guilty plea to the charged offense will likely result in him being subject to
immigration proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his naturalization. GREEN
understands that the immigration consequences of this plea will be imposed in
a separate proceeding before the immigration authorities. GREEN wants and
agrees to plead guilty to the charged offense regardless of any immigration
consequences of this plea, even if this plea will cause his removal from the
United States. GREEN understands that he is bound by his guilty plea
regardless of any immigration consequences of the plea. Accordingly, GREEN
waives any and all challenges to his guilty plea and to his sentence based on
any immigration consequences, and agrees not to seek to withdraw his guilty
plea, or to file a direct appeal or any kind of collateral attack challenging his
guilty plea, conviction, or sentence, based on any immigration consequences of
his guilty plea.

Other Provisions

 

This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities.
However, this Office will bring this agreement to the attention of other
prosecuting offices, if requested to do so.

This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against GREEN. This
agreement does not prohibit the United States, any agency thereof (including
the Internal Revenue Service) or any third party from initiating or prosecuting
any Civil or administrative proceeding against GREEN.

No provision of this agreement shall preclude GREEN from pursuing in
an appropriate forum, when permitted by law, an appeal, collateral attack,

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writ, or motion claiming that GREEN received constitutionally ineffective

assistance of counsel.

No Other Promises

This agreement constitutes the plea agreement between GREEN and this
Office and supersedes any previous agreements between them. No additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties.

APPROVED:

DAVID W. FEDER
Chief, Cybercrime Unit

Very truly yours,

RACHAEL A. HONIG
United States Attorney

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By: ANTHONY P. TORNTORE
MATTHEW FELDMAN NIKIC
Assistant United States Attorneys
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I have received this letter from my attorney, MICHAEL GILBERTI, Esq. I
have read it. My attorney and I have discussed it and all of its provisions,
including those addressing the charges, sentencing, stipulations, waiver,
forfeiture, and immigration consequences. I understand this letter fully. I
hereby accept its terms and conditions and acknowledge that it constitutes the
plea agreement between the parties. I understand that no additional promises,
agreements, or conditions have been made or will be made unless set forth in
writing and signed by the parties. I want to plead guilty pursuant to this plea
agreement.

AGREED AND ACCEPTED:

 
 
 

 

 

 

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Fa TT Date: 2freo/ai
WILLIAM GREEN

I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charges, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. My client understands this
plea agreement fully’and wants to plead guilty pursuant to it.

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sa y Date: Z-Ab- AI
MICHAEL GILBERTI, ESO. ~~
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Plea Agreement With GREEN
Schedule A

1. This Office and GREEN recognize that the United States Sentencing
Guidelines are not binding upon the Court. This Office and GREEN
nevertheless agree to the stipulations set forth herein, and agree that the Court
should sentence GREEN within the Guidelines range that results from the total
Guidelines offense level set forth below. This Office and GREEN further agree
that neither party will argue for the imposition of a sentence outside the
Guidelines range that results from the agreed total Guidelines offense level.

2. The version of the United States Sentencing Guidelines effective
November 1, 2018 applies in this case.

3. The applicable guideline is U.S.S.G. § 291.3(a)(2), which provides that
the Base Offense Level is 6 because GREEN is not charged under 31 U.S.C.
8§ 5318 or 5318A.

4. Specific Offense Characteristic U.S.S.G. § 2B1.1(b)(1)(H} applies
because the value of the funds involved in the offense exceeded $550,000 but
were not more than $1,500,000. This Specific Offense Characteristic results in
an increase of 14 levels.

S. As of the date of this letter, it is expected that GREEN will enter a plea
of guilty prior to the commencement of trial, will truthfully admit his
involvement in the offense and related conduct, and will not engage in conduct
that is inconsistent with such acceptance of responsibility. If all of these events
occur, and GREEN’s acceptance of responsibility continues through the date of
sentencing, a downward adjustment of 2 levels for acceptance of responsibility
will be appropriate. U.S.S.G. § 3E1.1{a) and Application Note 3.

6. As of the date of this letter, it is expected that GREEN will assist
authorities in the investigation or prosecution of his own misconduct by timely
notifying authorities of his intention to enter a plea of guilty, thereby permitting
this Office to avoid preparing for trial and permitting this Office and the court
to allocate their resources efficiently. At sentencing, this Office will move for a
further 1-point reduction in GREEN’s offense level pursuant to U.S.S.G. §
3E1.1(b) if the following conditions are met: (a} GREEN enters a plea pursuant
to this agreement, (b) this Office in its discretion determines that GREEN’s
acceptance of responsibility has continued through the date of sentencing and
GREEN therefore qualifies for a 2-point reduction for acceptanice of
responsibility pursuant to U.S.S.G. § 3E1.1(a), and (c) GREEN’s offense level
under the Guidelines prior to the operation of § 3E1.1(a) is 16 or greater.

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7. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to GREEN is 17 (the “agreed total Guidelines
offense level”).

8. The parties agree not to seek or argue for any upward or downward
departure, adjustment or variance not set forth herein. The parties further
agree that a sentence within the Guidelines range that results from the agreed
total Guidelines offense level is reasonable.

9. GREEN knows that he has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack,
or any other writ or motion, including but not limited to an appeal under 18
U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges the
sentence imposed by the sentencing court if that sentence falls within or below
the Guidelines range that results from the agreed total Guidelines offense level
of 17. This Office will not file any appeal, motion, or writ which challenges the
sentence imposed by the sentencing court if that sentence falls within or above
the Guidelines range that results from the agreed total Guidelines offense level
of 17. The parties reserve any right they may have under 18 U.S.C. § 3742 to
appeal the sentencing court’s determination of the criminal history category.
The provisions of this paragraph are binding on the parties even if the Court
employs a Guidelines analysis different from that stipulated to herein. .
Furthermore, if the sentencing court accepts a stipulation, both parties waive
the right to file an appeal, collateral attack, writ, or motion claiming that the
sentencing court erred in doing so.

10. Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding paragraph
and to file or to oppose any appeal, collateral attack, writ or motion not barred
by the preceding paragraph.
